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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

REHABCARE GROUP EAST, INC                           )
                                                    )   Case No. 10 cv 02350
                               Plaintiff            )
               vs.                                  )
                                                    )
CAMELOT TERRACE, INC. et. al.                       )
                                                    )
                               Defendants.          )

                                     MOTION TO DISMISS

       NOW COMES the Defendants CAMELOT TERRACE, INC. (“Camelot”) REGAL

HEALTH AND REHAB CENTER, INC (“Regal”) FOREST HILL HEALTH & REHAB

CENTER, INC. (“Forest Hill”) GALESBURG TERRACE, INC. (Galesburg Terrace”) GEM

HEALTHCARE MANAGEMENT, INC. (“Gem”) and MICHAEL LERNER (“Lerner”) by and

through their attorney Jeffrey K. Gutman of Gutman and Associates LLC and pursuant to Federal

Rule 12(b)(1) moves to dismiss the plaintiff’s amended complaint as follows:

       1.      The Plaintiff REHABCARE GROUP EAST, INC alleges in its amended complaint

               paragraph 12, and 13 that it entered into four (4) independent contracts with

               CAMELOT , REGAL , FOREST HILL and GALESBURG TERRACE, INC.

               and that it performed therapy services at each of the four nursing facilities in Illinois.

       2.      REHABCARE GROUP EAST, INC alleges in its complaint paragraph 2 that it is a

               Delaware corporation with its principal place of business in St. Louis, MO.

       3.      The plaintiff has failed to allege that it has obtained any certificate of authority to do

               business in the State of Illinois.
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 4      On May 8, 2009, the RehabCare Group East, Inc. authority to transact business was

        revoked by the State of Illinois. A certified copy of the Secretary of State revocation

        of Rehabcare’s right to transact business in Illinois is attached hereto as Exhibit A.

 5.     The Illinois Business Corporation Act § 805 ILCS 5/13.70(a) provides as follows::

                  No foreign corporation transacting business in this State without authority
                  to do so is permitted to maintain a civil action in any court of this State,
                  until the corporation obtains that authority. Nor shall a civil action be
                  maintained in any court of this State by any successor or assignee of the
                  corporation on any right, claim or demand arising out of the transaction
                  of business by the corporation in this State, until authority to transact
                  business in this State is obtained by the corporation or by a corporation
                  that has acquired all or substantially all of its assets.
 6.     An out-of-state corporation with an Illinois based cause of action cannot sue until it

        has a certificate of authority. Kansas Quality Constr., Inc. v. Chiasson, 112 Ill. App. 2d

        277 (4th Dist. 1969).

 7      In Wirth, Ltd. v. The Silvretta, 575 F. Supp. 1274, 1276 (N.D. Ill. 1984) the Court held

        that a party must have a certificate of authority to maintain a lawsuit in the Federal

        Courts. However, in Wirth the Court held that it is the Defendant’s burden to show

        that the foreign corporation is doing business in Illinois in violation of the statute.

 8.     In our case, it is undisputed from the Plaintiff’s complaint that this Plaintiff does

        business in Illinois. It is also undisputed from the allegations of the complaint the
        plaintiff did business in Illinois by providing therapy services at least (4) different

        nursing facilities under (4) independent contracts. See complaint paragraphs 12, and

        13.

 9      That Plaintiff, an out-of-state corporation without a certificate of authority may not

        bring suit in any Court in this State and lacks standing to file this suit or maintain this

        action.
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            WHEREFORE the Defendants pray this cause of action be dismissed.


                                              Respectfully submitted:




                                              _s/Jeffrey K. Gutman____
                                              Attorney for Defendants


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